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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

JEFF SIREN and SIDNEY SIREN,

                     Plaintiffs,

      v.                                 Case No. 3:18cv1339/RV/GRJ

OCWEN LOAN SERVICING, LLC,

                     Defendant.


                              ORDER OF DISMISSAL

      The Court having been advised that this matter has been compromised
and settled between the parties (doc. 14), it is ORDERED:
      (1) This cause is hereby DISMISSED, with prejudice and without
taxation of costs.
      (2) In the event settlement is not consummated for any reason, the
Court reserves the power, upon motion filed by any party within 60 days after
date, to amend, alter or vacate and set aside this order of dismissal.
      DONE AND ORDERED this 4th day of December, 2018.

                                    /s/ Roger Vinson
                                    ROGER VINSON
                                    Senior United States District Judge
